        Case 1:21-mi-55555-JPB               Document 910               Filed 11/19/24            Page 1 of 1


From:           ecf_help@ca11.uscourts.gov
To:             GANDdb_efile_Appeals_Clerk
Subject:        23-13085-GG In re: Georgia Senate Bill 202 "Record/Documents Requested from District Court" (1:21-mi-55555-
                JPB)
Date:           Tuesday, November 19, 2024 2:41:58 PM




***NOTE TO USERS*** The following notice is for internal court use only and access
to the information is limited to named recipients. Access to the Notes and Documents
may be further restricted.

                  United States Court of Appeals for the Eleventh Circuit

Notice of Docket Activity

The following transaction was filed on 11/19/2024
Case Name:        In re: Georgia Senate Bill 202
Case Number:   23-13085


Docket Text:
USDC Clerk is requested to forward the items to our court that are not available electronically.
[23-13085, 23-13095]

Notice will be electronically mailed to:

Clerk - Northern District of Georgia, Clerk of Court
